           Case 1:21-cr-00447-CJN Document 232 Filed 04/20/23 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA,

      v.                                             Criminal Action No. 1:21-cr-0447-04 (CJN)

MICHAEL STEVEN PERKINS,

              Defendant.


                   ORDER FOR DETENTION PENDING SENTENCING

       It is hereby ORDERED that Michael Steven Perkins be detained pending sentencing

pursuant to 18 U.S.C. § 3143(a)(2). It is further ORDERED that Mr. Perkins be housed in the

Middle District of Florida and brought to the District of Columbia not more than three weeks

prior to the sentencing date of July 13, 2023.


DATE: April 20, 2023
                                                           CARL J. NICHOLS
                                                           United States District Judge




                                                 1
